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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                      (at London)

 UNITED STATES OF AMERICA,                       )
                                                 )
         Plaintiff,                              )     Criminal Action No. 6: 09-16-S-DCR
                                                 )
 V.                                              )
                                                 )
 FREDDY W. THOMPSON, et al.,                     )        MEMORANDUM OPINION
                                                 )            AND ORDER
         Defendants.                             )

                                         ***    ***    ***

       This matter is before the Court for consideration of Defendant Freddy W. Thompson’s

Motion for Release Pending Appeal. [Record No. 1238] Thompson was sentenced to 150

months of imprisonment for his convictions on charges of conspiracy to violate RICO,

conspiracy to commit money laundering, obstruction of justice, conspiracy against rights, and

conspiracy to commit vote-buying. He filed a timely Notice of Appeal to the Sixth Circuit Court

of Appeals and now seeks release from custody pending resolution of that appeal.

       Pursuant to 18 U.S.C. § 3143(b), a criminal defendant must be detained while his appeal

is pending unless the court finds by clear and convincing evidence that he “is not likely to flee

or pose a danger to the safety of any other person or the community if released.” 18 U.S.C.

§ 3143(b)(1)(A). The defendant must also demonstrate that “the appeal is not for the purpose

of delay and raises a substantial question of law or fact” that will likely lead to reversal or a new

trial. Id. Thus, the statute creates a presumption that a defendant who has been convicted may

not be released pending appeal. See United States v. Vance, 851 F.2d 166, 169 (6th Cir. 1988).

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       As Thompson acknowledges, the burden of showing that release would be proper rests

with him. See id. [Record No. 1238-1, p. 3] Yet he makes little effort to satisfy the first prong

of § 3143(b)(1), suggesting instead that “risk of flight and danger to the community [] are not

in issue.” [Id.] Thompson notes that he “was released prior to trial, so it was found at that time

that he did not pose a danger to the community or a risk of flight.” [Id.] He further points out

that he had no prior criminal record, that he has strong family and community connections to

Clay County, and that he “conducted himself forthrightly” during the trial and other proceedings

in this case. [Id.] Finally, he offers to “submit to GPS monitoring at his own expense” and

promises to be gainfully employed “within days of his release.” [Id., pp. 3-4]

       Such assurances are insufficient in light of the heavy burden imposed by § 3143(b)(1)(A).

First, the fact that Thompson was released before trial does not mean that release would be

appropriate now. At the pretrial stage, Thompson was presumed innocent, and the United States

bore the burden of proving by clear and convincing evidence that detention was necessary. See

18 U.S.C. § 3142(f); United States v. Stone, 608 F.3d 939, 946 (6th Cir. 2010) (“[T]he

government’s ultimate burden [under § 3142] is to prove that no conditions of release can assure

that the defendant will appear and . . . assure the safety of the community.”). Whereas § 3143

presumes that a convicted defendant should be detained during the pendency of his appeal, “[t]he

default position of the law . . . is that a defendant should be released pending trial.” Stone, 608

F.3d at 945. And unlike a pretrial defendant, a defendant who (like Thompson) has been

convicted of several serious crimes and faces a lengthy prison sentence has significant

motivation to flee.



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       Moreover, evidence was presented at trial concerning multiple acts of witness

intimidation and retaliation by conspiracy members. The Court previously determined, based

on such evidence and the apparent ongoing nature of the conspiracy — which includes numerous

unindicted coconspirators — that postconviction release was not warranted for any defendant.

Thompson’s motion fails to address the Court’s concerns.

       In sum, Thompson has failed to rebut the statutory presumption in favor of his detention

pending appeal. Because he has not demonstrated by clear and convincing evidence that he is

unlikely to flee or pose a danger to the community, the Court does not reach his arguments

concerning issues to be raised on appeal. Accordingly, it is hereby

       ORDERED that Thompson’s Motion for Release Pending Appeal [Record No. 1238]

is DENIED.

       This 6th day of May, 2011.




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